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UN IIBD STAIB S DISTRI CT COURT
NORTHE RN DISTRI CT OF NEW YORK
-----------------------------------------------------x
IN THE MATTER OF THE COMPLAINT                                   JURY TRIAL IS DEMANDED

        Of                                                     Case No. l:17-cv-168 (MAD/CFH)

TAPPAN ZEE CONSTRUCTORS, LLC,
as owner of 2007 Lobell Boat, Serial Number                        CLAIMANT'S ANSWER TO
L0A11504J607, FOR EXONERATION FROM                             COMPLAINT FOR EXONERATION
OR LIMITATION OF LIABILITY,                                               OR LIMITATION

                          Petitioner.
-----------------------------------------------------x
        CJairnant, Tnnothy Marion through his attorney, Steven M. Melley, PLLC, as and for his

Answer and Affirmative Defenses to the Petition herein does state:

        FIRST: Denies the allegations in paragraphs numbered "7", "8" "9" "14" "15" and "16"of the

Petition/Complaint for Exoneration from or Limitation of Liability, dated February 14, 2017 and filed

with this Court herein;

        SECOND: Denies information sufficient to form a belief as to the allegations contained in

paragraphs numbered, "l", "2", "10", "11", "12", and "13" of the Petition/Complaint for Exoneration

from or Limitation of Liability, dated February 14, 2017 and filed with this Court herein;

        THIRD: Admits, as alleged in paragraph numbered "3" of the Petition/Complaint for

Exoneration from or Limitation of Liability, dated and filed with this Court on February 14, 2017, that

Claimant, Timothy Marion did name Petitioner as one of five defendants in the verified complaint, dated

August 15, 2016, filed and commenced in the Supreme Court of the State of New York venued in

Ulster County under Index No. 2180/2016 on August 15, 2016 which complaint is annexed as Exhibit




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B of the "Complaint for Exoneration from or Limitation of Liability'' herein filed by and for Petitioner,

Tappan Zee Constructors, LLC.

        FOUR1H: Admits the allegations set forth in paragraph numbered "6" of the Complaint and

respectfully refer all matters of law to this Court.

        FIF1H: Admits, as alleged in paragraph numbered "4" of the Petition/Complaint for

Exoneration from or Limitation of Liability, dated and filed with this Court on February 14, 2017, that

Claimant, Thnothy Marion, alleges, among other allegations made in his said verified complaint in the

pending state court action, that on September 17, 2013, while aboard a vessel known as 'WBl",

bearing hull no. L0A11504J607, he sustained bodily injuries as alleged therein.

        SIX1H: Admits, as alleged in paragraph numbered "5" of the Petition/Complaint for

Exoneration from or Limitation of Liability, dated and filed with this Court on February 14, 2017, that

Clannant, TIIIlOthy Marion, alleges, among other allegations, that Petitioner herein, Tappan Zee

Constructors, LLC., is liable for the injuries and damages he sustained on September 17, 2013 while

aboard a certain vessel in the navigable waters of the Hudson River, owned by Petitioner herein,

Tappan Zee Constructors, LLC.

                      FIRST COMPLETE AND AFFIRMATIVE DEFENSE

        SEVEN1H: This action/proceeding is not timely brought or filed by Petitioner.

                     SECOND COMPLETE AND AFFIRMATIVE DEFENSE

        EIGHIB: Petitioner, its officers, owners and/or managers had both privity and knowledge of

their negligence and of their negligent entrustment of the subject vessel in an unsafe and unseaworthy

condition and both actual and constructive notice and knowledge of such unsafe and unseaworthy

conditions.


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                      TIDRD COMPLETE AND AFFIRMATIVE DEFENSE

        NINTH: The Court herein lacks subject matter jurisdiction of this action/proceeding.

                     FOUR1H COMPLETE AND AFFIRMATIVE DEFENSE

        TENTH: The Petition/Complaint herein fails to state a cognizable claim cause of action upon

which relief may be granted under Supplemental Rule F, under 46 U.S.C. ss. 30501, et seq., under

General Maritime Law or otherwise.

                      FIFTH COMPLETE AND AFFIRMATIVE DEFENSE

        ELEVENTH: The Claimant herein has filed and/or will file certain stipulations by which the

injunction of the Claimant must be vacated and the stay of the pending state court action must be lifted.

                      SIXTH COMPLETE AND AFFIRMATIVE DEFENSE

        TWELFTH: The Home Port Doctrine bars this action and divests this Court of its jurisdiction.

                    SEVEN1H COMPLETE AND AFFIRM ATIVE DEFENSE

        THIRTEENTH: This Court's injunction and/or stay of the pending action in state court is overly

broad, does not require sufficient security, ie. an amount equal to the value of the subject vessel and its

pending freight, and otherwise fails to invoke the flotilla doctrine to insure and adequate security for the

claims made by the single claimant herein.

        WHEREFORE, this action/proceeding and the Petition/Complaint for Exoneration and

Limitation herein must be dismissed, or the injunction of the Claimant must be vacated and the stay of

the pending state court action be lifted allowing Claimant to proceed with the state court action,

together with such other, just and proper relief as is warranted herein.

Dated: April25, 2017
       Rhinebeck, New York



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                                                 STEVE N M. MELLEY, PLLC



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